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                                 UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA

      SONY MUSIC ENTERTAINMENT, et al.,

                               Plaintiffs,
                                                               Case No. 1:18-cv-00950-LO-JFA
                       v.

      COX COMMUNICATIONS, INC., et al.,

                               Defendants.

      ORDER GRANTING CONSENT MOTION TO MODIFY THE BRIEFING SCHEDULE
                     ON THE PARTIES’ MOTIONS IN LIMINE

              Before this Court is the Parties’ Consent Motion to Modify the Motion in limine briefing

  schedule. After considering this Motion, the Court is of the opinion that the Motion should be,

  and it hereby is, GRANTED. The Court hereby orders that the schedule for Motions in limine

  shall be modified as follows:



      Event                                  Original Date 1                 Requested Date

      Motions in limine                      October 21, 2019                October 19, 2019

      Motions in limine oppositions          November 4, 2019                October 30, 2019

      Motions in limine replies              November 11, 2019               November 6, 2019

      Motions in limine hearing              November 15, 2019               November 12, 2019



  ENTERED this _______ of _________________, 2019.



  Alexandria, Virginia                                            ____________________________
                                                                  The Honorable Liam O’Grady
                                                                  United States District Judge

  1
      From the Court’s Pretrial Schedule Order. ECF No. 223.
